
Henry Gr. SMITH, J.,
delivered the opinion of the Court.
! This is a proceeding, wherein Isbell contests the election of Farris, as Clerk of the County Court of Obion County.
Farris was elected Clerk at the regular elections held in March, 1866. At and before such election, Isbell held and exercised the office, under color of an election claimed to have been held by the people of the county, in March, 1864, pursuant to order of the then Military Governor of the State, issued and set forth in his general proclamation of date, January 26, 1864. And Isbell now claims, that, by virtue of such election, he *428is entitled to hold and enjoy the office for the term of four years, as prescribed by sec. 13 of Article 6, of the Constitution of the State, and the Code, sec. 324, and that such term is not yet expired.
For_ the purpose of this opinion and the judgment of this Court upon the case in hand, it may be conceded, that the election in March, 1864, was actually held, and that Isbell was then elected; and by virtue of such election under the proclamation, went into and held the office, and was rightfully entitled so to do.
It may also be conceded, that, in the civil war, the sovereign government of the nation, having by military force made conquest of, and holding firm occupation, by such force, of the country within the scope and boundary in which the war existed, possessed the belligerent power to organize and enforce the government of the people within the country so occupied; and as a means of so organizing and enforcing government, may rightfully appoint suitable functionaries, directly by the military commander of the forces occupying the country, or through the agency of elections held by the people themselves, pursuant to the orders of the military officer in command; it must, nevertheless, be held that the functionaries so created, hold their offices by the military power, and no longer than the war comes to an end and peace is restored, and the regular movement of the municipal governmont of peace is re-established.
Such regular movement of the municipal government of the State, must be held to have been re-established, in respect to the office in question here, at and by the regular election in March, 1866, in the County of Obion.
*429The Military Governor, wbo issued the proclamation pursuant to which was held the election of March, 1864, was appointed by the President of the United States and the Secretary of War, by virtue of the powers vested in the President in time of war, as Commander-in-Chief of the armies of the nation. The powers exercised by the Military Governor, to establish government over the people, in the manner prescribed by the proclamation of January 7, 1864, find their sanction in the public law which authorizes the sovereign belligerent in a civil war, to exercise upon the insurgent people, to some extent, the belligerent powers sanctioned by the laws of war, in the case of an international war. The laws of war authorize the occupying conqueror to organize and establish government over the people of the hostile country, subdued and held in firm occupation. The government so established, endures for the time the belligerent occupation continues, and ends with the restoration of peace, and the resumption of the regular municipal government of peace.
In this view of the controversy between these parties, no question remains, that the official life of the Clerk holding office by virtue of the election of 1864, came rightfully to an end upon the election of Farris, at the regular election of March, 1866. It can, therefore, be a matter of no consequence to the old Clerk, that he was denied the right to introduce evidence of his election in March, 1864.
The 7th section of the Schedule to the Amendments of the Constitution, ratified February 22, 1865, likewise *430may well dispose of the controversy between the parties here. The section referred to, declares: “All civil and military officers which have been, or may hereafter be appointed by the acting Governor of the State, are hereby ratified and affirmed; and they shall' continue to hold and exercise the functions of their respectivo offices until their successors shall be elected or appointed, and qualified, as prescribed by the laws and Constitution of the State and United States.”
Isbell was one of the civil officers appointed by the acting Governor, Johnson. A plain implication is found in the 7th section, that his office shall cease, upon the election of a successor, as prescribed by the Constitution and laws of the State.
Affirm the judgment of the Court below; and remand this cause for such proceedings there, as may be proper to invest Earris with the office of Cleric of the County Court of Obion County, and for such other proceedings as may be needful to enforce his rights in the premises.
